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                       EXHIBIT B
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 August 29, 2024

 VIA E-MAIL


 John A. Piskora
 David A. Forrest
 Loeb & Loeb LLP
 345 Park Avenue
 New York, NY 10154

 Re:    SDN Limited v. IOV Labs Limited, Index No. 607805/2024

 Counsel:

        We write on behalf of Rootstock Labs Limited, f/k/a IOV Labs Limited, f/k/a RIF Labs
 Limited, in connection with the above-captioned matter.

         While we do not have SDN Limited’s full claims given your choice to file a summons with
 notice rather than a full complaint, SDN Limited’s claims appear to have been filed in transparent
 breach of the binding arbitration agreement in clause 18 of the Early Contribution Agreement
 (“ECA”) entered into between SDN Limited and RIF Labs Limited in June 2018. Without
 submitting to jurisdiction or accepting service, please explain by September 4, 2024 the basis on
 which SDN Limited contends its claims are not in breach of the ECA’s arbitration agreement.

        Rootstock Labs Limited reserves all rights, including to seek costs and fees for SDN
 Limited’s breach of the arbitration agreement.


 Sincerely,




 Michael B. Carlinsky



       quinn emanuel urquhart & sullivan, llp
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